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                          EXHIBIT 3




DECLARATION OF ADRIENNE D. MCENTEE IN
SUPPORT OF DEFENDANT’S SUPPLEMENTAL
RESPONSE TO MOTION FOR SUMMARY
JUDGMENT - 20
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                                                                            Page 1
1                        TOBIAS FIESER - MAY 9, 2019
2                        UNITED STATES DISTRICT COURT
3                      WESTERN DISTRICT OF WASHINGTON
4
      STRIKE 3 HOLDINGS, LLC, a   )
5     Delaware corporation,       )
                                  )
6               Plaintiff,        )
                                  )
7          vs.                    ) No. 2:17-cv-01731-TSZ
                                  )
8     JOHN DOE, subscriber        )
      assigned IP address         )
9     73.225.38.130,              )
                                  )
10              Defendant.        )
      ___________________________ )
11                                )
      JOHN DOE, subscriber        )
12    assigned IP address         )
      73.225.38.130               )
13                                )
                Counterclaimant, )
14                                )
           vs.                    )
15                                )
      STRIKE 3 HOLDINGS, LLC      )
16                                )
                Counterdefendant. )
17    ___________________________ )
18
19       DEPOSITION OF TOBIAS FIESER, VOL. II (via Skype)
20                                Hillsboro, Oregon
21                             Thursday, May 9, 2019
22
23    Reported by:
24    MARLA SHARP, RPR, CCRR, OR CSR 17-0446, CA CSR 11924
25    JOB NO. 160573


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                                                                          Page 172
1                        TOBIAS FIESER - MAY 9, 2019
2            A      Yes.
3            Q      And when do you get requests for PCAPs?
4            A      Then what?           What is the question?
5            Q      When do you get a request for PCAP?
6            A      When?      When they ask me.       It's not on a
7     regular basis, no.
8            Q      Well, who asks you for the PCAP?
9            A      Emily or Sid.           They are different, but one
10    of them.
11           Q      So Emily or Sid asks you for a PCAP?
12           A      Yes.
13                  MR. ATKIN:           Curtis, can you just repeat
14    that last question?                I got a leaf blower outside.
15    This is my fault.
16                  MR. EDMONDSON:          No, it's okay.
17    BY MR. EDMONDSON:
18           Q      I just said, so Emily or Sid then asks you
19    for a PCAP?
20           A      Yes.
21           Q      And does Emily or Sid ask you for a PCAP on
22    the same date that you sign your declaration?
23           A      They don't send a request with the
24    declaration, no.
25           Q      Do you ever get a request for a PCAP from


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1                        TOBIAS FIESER - MAY 9, 2019
2     anybody but Emily or Sid?
3            A      No.     That -- not that I can remember.
4     Sorry.
5            Q      How do you locate the proper PCAP to send
6     Emily or Sid?
7            A      They are stored with an ID and a IP address
8     at the end and they are saved in date folders so I
9     can address them via the folder and the file name.
10           Q      When you extract the PCAP, do you create a
11    hash to verify that it isn't altered when it's sent
12    to somebody else?             Let me --
13           A      I don't get the question.     Rephrase --
14           Q      Yeah.      Let me rephrase that.
15           A      -- please.
16           Q      Let me rephrase.
17                  So the PCAP data can be viewed with
18    Wireshark, correct?
19           A      Correct.
20           Q      And is there anything to prevent you from
21    using a hex editor to alter the contents of that
22    PCAP data?
23           A      We have the PCAP files saved, and we can --
24    what's the English word? -- we can -- we have saved
25    the original PCAP file on one tape.          This tape can


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1                        TOBIAS FIESER - MAY 9, 2019
2     my e-mail account open, yes.
3            Q      How hard would it be for you to look up
4     Jack's full name?
5            A      Just a second.
6                   Vidovich.
7            Q      How do you spell it?
8            A      V-i-d-o-v-i-c-h.
9            Q      Okay.      Jack Vidovich.
10           A      Right.
11           Q      And you referred to a Sid.
12                  Do you know Sid's last name?
13           A      I don't -- Sid is only his nickname.         Just
14    a second.        So his real name is -- I spell it.        I
15    can't pronounce it correctly.             So the name is
16    S-u-d-h-a-n-s-u.            And the last name is S-i-n-g-h.
17           Q      Can you say the first name -- spell that
18    again?       I didn't catch it.
19           A      Spell it completely once again?
20           Q      Yes, please.
21           A      S-u-d-h-a-n-s-u.
22           Q      And have you ever spoken to Mr. Singh?
23           A      To who?
24           Q      Sid.
25           A      Via e-mail.


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1                        TOBIAS FIESER - MAY 9, 2019
2             CERTIFICATE OF CERTIFIED SHORTHAND REPORTER
3
4                     I, Marla Sharp, a certified shorthand
5     reporter in the state of Oregon, hereby certify:
6                     That the foregoing deposition of
7     TOBIAS FIESER (via Skype) was taken before me on
8     May 9, 2019, at which time the witness was duly
9     sworn by me;
10                    That the testimony of the witness and all
11    colloquy and objections made at the time of the
12    deposition were recorded stenographically by me and
13    thereafter transcribed, said transcript being a true
14    copy of my shorthand notes thereof;
15                    That review of the transcript was
16    requested before completion of the deposition;
17    ( ) that the witness has failed or refused to
18    approve the transcript.
19                    I further certify I am neither financially
20    interested in the action nor a relative or employee
21    of any attorney of any of the parties.
22                    In witness whereof, I have subscribed my
23    name and signature this date, May 21, 2019.
24                     _________________________________________
                       Marla Sharp, RPR, CLR, CCRR,
25                     OR CSR 17-0446, CA CSR 11924


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